






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00147-CR






Joshua Caleb Lowry, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BLANCO COUNTY, 33RD JUDICIAL DISTRICT

NO. 899, HONORABLE DANIEL H. MILLS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Joshua Caleb Lowry was indicted for two counts of aggravated assault with
a deadly weapon.  In September 2006, he pled guilty and was placed on deferred adjudication with
eight years of community supervision.  In November 2007, the State moved to adjudicate appellant's
guilt, alleging that he had violated the terms of his supervision on October 27, 2007, by driving while
intoxicated and resisting arrest.  At the hearing on the State's motion, appellant pled true to all of the
State's allegations in exchange for the State's agreement not to indict him for DWI.  The trial court
adjudicated him guilty of the 2006 assault charge and, after hearing testimony related to the
October&nbsp;27 incident, as well as two other evading arrest charges from 2004 and 2005, sentenced him
to fifteen years' imprisonment.  Appellant's appointed attorney has filed a brief concluding that the
appeal is frivolous and without merit.  

	Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738, 743-44
(1967), by presenting a professional evaluation of the record and demonstrating that there are no
arguable grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders, 386 U.S. at
743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684, 684 (Tex. Crim. App. 1974); Gainous v. State, 436 S.W.2d 137, 138 (Tex. Crim. App. 1969). 
Appellant's attorney sent appellant a copy of the brief and advised him that he had the right to
examine the record and file a pro se brief.  See Anders, 386 U.S. at 744; Jackson v. State,
485&nbsp;S.W.2d 553, 553 (Tex. Crim. App. 1972).  No pro se brief has been filed.

	We have considered the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We have reviewed the evidence presented to the jury and the
procedures that were observed and find nothing in the record that might arguably support the appeal. 
We grant counsel's motion to withdraw and affirm the judgment of conviction. (1) 


					___________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Affirmed

Filed:   August 27, 2008

Do Not Publish
1.   No substitute counsel will be appointed.  Should appellant wish to seek further review of
his case by the court of criminal appeals, he must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App.
P. 68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the date
this Court overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The
petition must be filed with this Court, after which it will be forwarded to the court of criminal
appeals along with the rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition
for discretionary review should comply with rules 68.4 and 68.5 of the rules of appellate procedure. 
See Tex. R. App. P. 68.4, 68.5. 


